




Form: Dismiss TRAP 42.1(a)(2)














COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS









In the Interest of J. M. O., 

a Minor Child,


                           

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No. 08-03-00305-CV


Appeal from the


318th Judicial District Court


of Midland County, Texas


(TC# FM-34983)



M E M O R A N D U M    O P I N I O N



	This appeal is before the Court on its own motion to dismiss pursuant to Tex. R. App. 
P. 37.3(b), which states:

	(b)  If No Clerk's Record Filed Due to Appellant's Fault.  If the trial
court clerk failed to file the clerk's record because the appellant
failed to pay or make arrangements to pay the clerk's fee for
preparing the clerk's record, the appellate court may-on a party's
motion or its own initiative-dismiss the appeal for want of
prosecution unless the appellant was entitled to proceed without
payment of costs.  The court must give the appellant a reasonable
opportunity to cure before dismissal.

		


	On August 15, 2003, pursuant to Tex. R. App. P. 37.3(b), this Court's clerk sent
Appellant a notice of the Court's intent to dismiss if, within ten days of the notice, the
Appellant did not respond showing grounds to continue the appeal.  No response has been
received as of this date.

	The Court has considered this cause and concludes the motion should be granted and
the appeal should be dismissed pursuant to Tex. R. App. P. 37.3(b).  We therefore dismiss
the appeal.

September 18, 2003


						_______________________________________

						RICHARD BARAJAS, Chief Justice


Before Panel No. 4

Barajas, C.J., Larsen, and McClure, JJ.






